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IN THE UNITED sTATEs DISTRICT CoBiz n 3' PH 6‘ 55
FoR THE WESTERN I)ISTRICT oF TENNES§BE;E.E -;,t;;§~;_.;-l_@
wESTERN DIVISION 53 fit '"“H~C,S

 

 

UNITED STATES OF AMERICA,

Plaintiff, Case No. 04-20009 D V
vs.

JOHN FELIX GREER,

Del`endant.

 

ORDER OF TRANSFER

 

The above-styled case is hereby transferred to Judge Jon P. McCalla in exchange for
Philander Butler v. USA, et al., 05-2112 Ml/An. The parties shall, on all pleadings and
correspondence related to this matter, change the judge’s initials in the case number from 04-20009

D V to 04-20009 Ml V.

IT is so oRDERED this 35 day 0@%4 2005.

RNICE BO lE DONALD
ITED STATES DISTRICT JUDG

  

   

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ENNESSEE

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Stephen A. Sauer

LAW OFFICE OF STEPHEN A. SAUER
8 S. Third St.

4th Floor

l\/lemphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

